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EXHIBIT Q

ease 1:09-cv-00597-Li\/iB-TCB Document 41-13 i=iied 10/23/09 Page 2 or 4 F>\’Méiib#!?is¢i

Roth, Iiile|issa R.
From: Candess Hunter [candess@hhy|aw.com]

Sent: Thursctay, October 15, 2009 3;19 P|Vl

To: Dickinson, N|icheiie J.

Subject: NE| iaptop

Only 45 minutes to go and, if i don‘t hear from you, i will make the choice for you. Either it will go to NEi's office
here in our building or to the DLA Piper ofhce in AZ (that | can see out my window). iVlai<e the choice in the next
45 minutes1 or i‘ii make it for you. No more footing around

Candess J‘ Hunter, Esq.

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-_ Originai lViessage ---*

From: C.ii-i

To: "Dickinsonl |Vlichelle J."
Sent: 10/15/2009 10:30AM
Sub}ect: RE: FW: Re: NE| laptop

i\/iicheiiel isabel is out of the ofhce today, but i saw this email and must respond You were informed on
September 10 that NE| was in possession of Joe‘s laptop, that it had no NE| data on it and that Joe wanted it back
immediatelyl The laptop was in this building in AZ, but you and NE| refused to return it, and to make matters
worse, NE| removed it from the building and from Arizona {interstate transportation of stolen goods). Now over a
month laterl you finally send this emaiil acknowledging that everything Joe told you about the laptop was true. Let
me make myself clearl you are holding stolen property The police are being notified You can make ali of the
excuses that you want to, but continuing to hold someone eise's property after they have demanded its return is
theft i_ook it up.

Regarding NEi's computer, we have tried to return it to you, but you have not agreed to accept it. VVe tried to
deliver it to NEi right here in the building (as they are moving out) but they refused it, claiming they had to talk to
"their iawyer" first inLL NOT KEEP TH|S COMPUTER |N T|-i|S OFF!CE i-'OR ANOTHER DA\’. it's your
choice, either NEi accepts it downstairs ori will personally deliver it to the DLA Piper office at 1 pm AZ time
today Your choice. ifi don't hear from you in the next two hoursl | will make the choice for you.

Cafidess J, i-iunter, Esq.

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10/23/2009

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---~ Original Message -----
From: "Dickinson, Nlichel|e J."
To:

Sent: 10114,'2009 5:3‘lPM
Subject: Re: NEl laptop

lsabei,

Our computer consultants have determined that there is no NE[ data on the laptop that .loe returned to NEI a year ago.
Accordingly, we are prepared to make arrangements for the exchange of the laptops and imaging ofthe tower. Please advise
as to when Joe can get the tower out of storage for imaging so that we can set this up.

Miche||e j. Dickinson

DLA Piper LLP (US)

6225 Smith Avenue

Baltimore, Maryland 21209-3600
(410) 580~4137 Direct Phone
(410) 580-313'5' Direct Fax
michelle.dickinson@dlapiper.com

A'l"I`ORN EY WORK PRODUCT

----- Original Message ---~-

From: isabel M Humphrey <isabel@hhyiaw.com>
To: Dickinson, Michelle J.

Sent: Wed Oct 14 l4;49:i2 2009

Subject: RE: NEI laptop

Michelle, we are not comfortable continuing to hold onto NEl's laptop. l repeatedly tried to get instructions from you to
return it, and you would not give me the name of someone at NEl authorized to accept it. You said you would send a
computer consultant last week to pick it up, but we have heard nothing. We just sent a staff member downstairs to NEI's
office to return it, and they refused to accept it. If you don't make other arrangements by the end oftoday, we will put the
laptop in a FedEx box and ship it to you.

In the meantime, Joe has contacted police regarding NEl's continued refusal to return his laptop.

lsabel M. I-lumphrey, Esq.

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10/23/2009

